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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

DARIUS EAST,

     Plaintiff,                               CASE NO.:

v.

DISCOVER PRODUCTS, INC.,

     Defendant.

                                  /

                  COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW Plaintiff, DARIUS EAST, by and through the undersigned

counsel, and sues Defendant, DISCOVER PRODUCTS, INC., and in support

thereof respectfully alleges violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices

Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                  INTRODUCTION

          1.      The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and prevent abusive “robo-calls.”

          2.      “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, -US--, 132 S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

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      3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we

want to rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator

Hollings presumably intended to give telephone subscribers another option: telling

the autodialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

3d 1242 (11th Cir. 2014).

      4.    According to the Federal Communications Commission (FCC),

“Unwanted calls are far and away the biggest consumer complaint to the FCC with

over 200,000 complaints each year – around 60 percent of all the

complaints…Some private analyses estimate that U.S. consumers received

approximately      2.4       billion   robocalls   per       month   in     2016.”

https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-robocalls-spoofing

                            JURISDICTION AND VENUE

      5.    This is an action for damages exceeding Seventy-Five Thousand

Dollars ($75,000.00) exclusive of attorney fees and costs.

      6.    Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.



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      7.     Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides

that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin.

Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014)

      8.     The alleged violations described herein occurred in Escambia County,

Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2) as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.



                              FACTUAL ALLEGATIONS

      9.     Plaintiff is a natural person, and citizen of the State of Florida,

residing in Escambia County.

      10.    Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

      11.    Plaintiff is an “alleged debtor.”

      12.    Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d

1242 (11th Cir. 2014).

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      13.    Defendant is a corporation and national association with its principal

place of business located at 2500 Lake Cook Road, Riverwoods, Illinois 60015 and

which conducts business in the State of Florida through its registered agent, CT

Corporation System located at 1200 South Pine Island Road, Plantation, Florida

33324.

      14.    The debt that is the subject matter of this Complaint is a “consumer

debt” as defined by Florida Statute §559.55(6).

      15.    Defendant is a “creditor” as defined in Florida Statute §559.55(5).

      16.    Defendant    called   Plaintiff   on   Plaintiff’s   cellular   telephone

approximately seventy-five (75) times each in an attempt to collect a debt.

      17.    Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

      18.    Some or all of the calls the Defendant made to Plaintiff’s cellular

telephone number were made using an “automatic telephone dialing system” which

has the capacity to store or produce telephone numbers to be called, using a

random or sequential number generator (including but not limited to a predictive

dialer) or an artificial or prerecorded voice; and to dial such numbers as specified

by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that

he knew it was an autodialer because of the vast number of calls he received and



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because he heard a pause when he answered his phone before a voice came on the

line and he received prerecorded messages from Defendant.

      19.    Plaintiff believes the calls were made using equipment which has the

capacity to store numbers to be called and to dial such numbers automatically.

      20.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone number (850) *** -9910, and was the called party and recipient of

Defendant’s calls.

      21.    Defendant placed an exorbitant number of calls to Plaintiff’s cellular

telephone (850) *** -9910 in an attempt to collect on a debt.

      22.    On several occasions over the last four (4) years Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone and landline.

      23.    In or about February of 2019, Plaintiff communicated with Defendant

from his aforementioned cellular telephone number and advised Defendant’s agent

that he had previously made a payment. Plaintiff then demanded Defendant’s agent

to stop calling.

      24.    During the aforementioned call with Defendant’s agent in or about

February of 2019, Plaintiff unequivocally revoked any express consent Defendant

may have believed they had for placement of telephone calls to Plaintiff’s

aforementioned cellular telephone number by the use of an automatic telephone

dialing system or a pre-recorded or artificial voice.

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       25.    Each    subsequent     call      Defendant   made   to   the   Plaintiff’s

aforementioned cellular telephone number was made without the “express consent”

of the Plaintiff.

       26.    Each subsequent call the Defendant made to the Plaintiff’s

aforementioned cellular telephone number was knowing and willful.

       27.    Despite actual knowledge of its wrongdoing, Defendant continued the

campaign of abuse, calling Plaintiff despite Plaintiff revoking any express consent

Defendant may have believed it had to call his aforementioned cellular telephone

number.

       28.    Plaintiff’s requests for the harassment to end were in vain as

Defendant continues to call Plaintiff.

       29.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as it did to

Plaintiff’s cellular telephone in this case.

       30.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice just as it did to Plaintiff’s

cellular telephone in this case, with no way for the consumer, Plaintiff, or , to

remove the number.




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       31.      Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff; despite these individuals explaining to Defendant they

wish for the calls to stop.

       32.      Defendant has numerous other federal lawsuits pending against it

alleging similar violations as stated in this Complaint.

       33.      Defendant has numerous complaints across the country against it

asserting that its automatic telephone dialing system continues to call despite

requested to stop.

       34.      Defendant has had numerous complaints from consumers across the

country against it asking to not be called; however, Defendant continues to call the

consumers.

       35.      Defendant’s corporate policy provided no means for Plaintiff to have

his number removed from Defendant’s call list.

       36.      Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge the called parties do not wish to be called.

       37.      Not a single call placed by Defendant to Plaintiff were placed for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       38.      Defendant willfully and/or knowingly violated the TCPA with respect

to Plaintiff.



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      39.    From each and every call placed without consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

      40.    From each and every call without express consent placed by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of

his cellular telephone line and cellular phone by unwelcome calls, making the

phone unavailable for legitimate callers or outgoing calls while the phone was

ringing from Defendant’s calls.

      41.    From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary

expenditure of his time. For calls he answered, the time he spent on the call was

unnecessary as he repeatedly asked for the calls to stop. Even for unanswered calls,

Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to

inform the user of important missed communications.

      42.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary

trouble of answering them. Even for unanswered calls, Plaintiff had to waste time

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to unlock the phone and deal with missed call notifications and call logs that

reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular phone, which are designed to inform the user of important

missed communications.

       43.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of

Plaintiff’s cell phone’s battery power.

       44.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone where a voice message was left which occupied space in

Plaintiff’s phone or network.

       45.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel,

namely his cellular phone and his cellular phone services.

       46.    As a result of the calls described above, Plaintiff suffered an invasion

of privacy. Plaintiff was also affect in a personal and individualized way by

distress and aggravation.


                                       COUNT I
                                (Violation of the TCPA)

       47.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-six (46) as if fully set forth herein.

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       48.    Defendant willfully violated the TCPA with respect to Plaintiff,

especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone

after Plaintiff notified Defendant that he wished for the calls to stop.

       49.    Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation

of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against DISCOVER PRODUCTS, INC for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from

further violations of these parts and any other such relief the court may deem just

and proper.

                                      COUNT II
                              (Violation of the FCCPA)

       50.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-six (46) as if fully set forth herein

       51.    At all times relevant to this action Defendant is subject to and must

abide by the laws of the State of Florida, including Florida Statute § 559.72.

       52.    Defendant has violated Florida Statute § 559.72(7) by willfully

communicating with the debtor or any member of his or her family with such

frequency as can reasonably be expected to harass the debtor or his or her family.
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      53.   Defendant has violated Florida Statute § 559.72(7) by willfully

engaging in other conduct which can reasonably be expected to abuse or harass the

debtor or any member of his or her family.

      54.   Defendant’s actions have directly and proximately resulted in

Plaintiff’s prior and continuous sustaining of damages as described by Florida

Statute § 559.77.

      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against DISCOVER PRODUCTS, INC for statutory

damages, punitive damages, actual damages, costs, interest, attorney fees,

enjoinder from further violations of these parts and any other such relief the court

may deem just and proper.



                                       Respectfully submitted,

                                      /s/ Octavio Gomez
                                      Octavio Gomez, Esquire
                                      Florida Bar No.: 0338620
                                      Morgan & Morgan Tampa, P.A.
                                      201 N. Franklin Street, Suite 700
                                      Tampa, Florida 33602
                                      Telephone: (813) 223-5505
                                      Facsimile: (813) 223-5402
                                      Primary Email:
                                      TGomez@ForThePeople.com
                                      Secondary Email:
                                      LDobbins@ForThePeople.com
                                      Attorney for Plaintiff

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